Case 6:23-cv-00025-JRH-BKE Document 1-2 Filed 03/30/23 Page 1 of 10




                          Exhibit B
Case 6:23-cv-00025-JRH-BKE Document 1-2 Filed 03/30/23 Page 2 of 10
Case 6:23-cv-00025-JRH-BKE Document 1-2 Filed 03/30/23 Page 3 of 10
Case 6:23-cv-00025-JRH-BKE Document 1-2 Filed 03/30/23 Page 4 of 10
Case 6:23-cv-00025-JRH-BKE Document 1-2 Filed 03/30/23 Page 5 of 10
Case 6:23-cv-00025-JRH-BKE Document 1-2 Filed 03/30/23 Page 6 of 10
Case 6:23-cv-00025-JRH-BKE Document 1-2 Filed 03/30/23 Page 7 of 10
Case 6:23-cv-00025-JRH-BKE Document 1-2 Filed 03/30/23 Page 8 of 10
Case 6:23-cv-00025-JRH-BKE Document 1-2 Filed 03/30/23 Page 9 of 10
Case 6:23-cv-00025-JRH-BKE Document 1-2 Filed 03/30/23 Page 10 of 10
